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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     GRACE VISION LLC, a California
                                                  325).
18   limited liability company; and DOES
     1-10, inclusive,
19                                             2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                 CIVIL CODE § 51 et seq.
21

22
             Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
23
     Defendant GRACE VISION LLC, a California limited liability company; and Does
24
     1-10 (“Defendants”) and alleges as follows:
25
                                            PARTIES
26
             1.    Plaintiff is substantially limited in performing one or more major life
27
     activities, including but not limited to: walking, standing, ambulating, sitting; in
28
     addition to twisting, turning and grasping objects. As a result of these disabilities,
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                                           COMPLAINT
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 1   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 2   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 3   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 4   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 5   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 6   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 7   suffered from a “qualified disability” under the ADA, including those set forth in
 8   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
 9          2.     Plaintiff is informed and believes and thereon alleges that Defendant
10   GRACE VISION LLC, a California limited liability company, owned the property
11   located at 9393 Bolsa Ave., Westminster, CA 92683 (“Property”) on or around July
12   2, 2020.
13          3.     Plaintiff is informed and believes and thereon alleges that GRACE
14   VISION LLC, a California limited liability company, owns the Property currently.
15          4.     Plaintiff does not know the true name of Defendant, its business
16   capacity, its ownership connection to the Property serving Saigon Capital Restaurant
17   (“Business”), or its relative responsibilities in causing the access violations herein
18   complained of. Plaintiff is informed and believes that each of the Defendants herein,
19   including Does 1 through 10, inclusive, is responsible in some capacity for the
20   events herein alleged, or is a necessary party for obtaining appropriate relief.
21   Plaintiff will seek leave to amend when the true names, capacities, connections, and
22   responsibilities of the Defendants and Does 1 through 10, inclusive, are ascertained.
23                               JURISDICTION AND VENUE
24          5.     This Court has subject matter jurisdiction over this action pursuant
25   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
26          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
27   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
28   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
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                                             COMPLAINT
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 1   federal ADA claims in that they have the same nucleus of operative facts and
 2   arising out of the same transactions, they form part of the same case or controversy
 3   under Article III of the United States Constitution.
 4          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 5   real property which is the subject of this action is located in this district and because
 6   Plaintiff's causes of action arose in this district.
 7                                FACTUAL ALLEGATIONS
 8          8.     Plaintiff went to the Business on or about July 2, 2020 for the dual
 9   purpose of browsing the menu and to confirm that this public place of
10   accommodation is accessible to persons with disabilities within the meaning federal
11   and state law.
12          9.     The Business is a facility open to the public, a place of public
13   accommodation, and a business establishment.
14          10.    Parking spaces are one of the facilities, privileges, and advantages
15   reserved by Defendants to persons at the Property serving the Business.
16          11.    Unfortunately, although parking spaces were one of the facilities
17   reserved for patrons, there were no designated parking spaces available for persons
18   with disabilities that complied with the 2010 Americans with Disabilities Act
19   Accessibility Guidelines (“ADAAG”) on July 2, 2020.
20          12.    At that time, instead of having architectural barrier free facilities for
21   patrons with disabilities, Defendants have: an access aisle that is allowed to be used
22   as a parking space (ADASAD compliant accessible parking and van accessible
23   parking spaces are required by Section 502); accessible parking spaces that are not
24   located on the shortest accessible route to the entrance per Section 208.3.1. (Parking
25   spaces complying with 502 that serve a particular building or facility shall be located
26   on the shortest accessible route from parking to an entrance complying with 206.4.
27   Where parking serves more than one accessible entrance, parking spaces complying
28   with 502 shall be dispersed and located on the shortest accessible route to the
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                                             COMPLAINT
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 1   accessible entrances. Here, two accessible parking spaces have been clustered at the
 2   farthest end and then around the corner from the entrance to this facility); and, no
 3   accessible routes connecting the parking to the main entrance or elements within the
 4   facility as required by Section 206.2.2 (which requires that at least one accessible
 5   route shall connect accessible buildings, accessible facilities, accessible elements,
 6   and accessible spaces that are on the same site, and 206.1 requiring access to the site
 7   arrival point (main entrance) from the public street. Also, the accessible route is
 8   inaccessible as it is being used as an outdoor dining area).
 9         13.    Subject to the reservation of rights to assert further violations of law
10   after a site inspection found infra, Plaintiff asserts there are additional ADA
11   violations which affect him personally.
12         14.    Plaintiff is informed and believes and thereon alleges Defendants had
13   no policy or plan in place to make sure that there was compliant accessible parking
14   reserved for persons with disabilities prior to July 2, 2020.
15         15.    Plaintiff is informed and believes and thereon alleges Defendants have
16   no policy or plan in place to make sure that the designated disabled parking for
17   persons with disabilities comport with the ADAAG.
18         16.    Plaintiff personally encountered these barriers. The presence of these
19   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
20   conditions at public place of accommodation and invades legally cognizable
21   interests created under the ADA.
22         17.    The conditions identified supra in paragraph 12 are necessarily related
23   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
24   the major life activities of walking, standing, ambulating, sitting, in addition to
25   twisting, turning and grasping objects; Plaintiff is the holder of a disabled parking
26   placard; and because the enumerated conditions relate to the use of the accessible
27   parking, relate to the slope and condition of the accessible parking and accessible
28   route to the accessible entrance, and relate to the proximity of the accessible parking
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                                            COMPLAINT
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 1   to the accessible entrance.
 2          18.      As an individual with a mobility disability who at times relies upon a
 3   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
 4   accommodations have architectural barriers that impede full accessibility to those
 5   accommodations by individuals with mobility impairments.
 6          19.      Plaintiff is being deterred from patronizing the Business and its
 7   accommodations on particular occasions, but intends to return to the Business for the
 8   dual purpose of availing himself of the goods and services offered to the public and
 9   to ensure that the Business ceases evading its responsibilities under federal and state
10   law.
11          20.      Upon being informed that the public place of accommodation has
12   become fully and equally accessible, he will return within 45 days as a “tester” for
13   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
14   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
15          21.      As a result of his difficulty experienced because of the inaccessible
16   condition of the facilities of the Business, Plaintiff was denied full and equal access
17   to the Business and Property.
18          22.      The Defendants have failed to maintain in working and useable
19   conditions those features required to provide ready access to persons with
20   disabilities.
21          23.      The U.S. Department of Justice has emphasized the importance of
22   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
23   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
24   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
25   Coronavirus Disease 2019 (COVID-19) found at
26   https://www.ada.gov/aag_covid_statement.pdf.
27          24.      The violations identified above are easily removed without much
28   difficulty or expense. They are the types of barriers identified by the Department of
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                                             COMPLAINT
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 1   Justice as presumably readily achievable to remove and, in fact, these barriers are
 2   readily achievable to remove. Moreover, there are numerous alternative
 3   accommodations that could be made to provide a greater level of access if complete
 4   removal were not achievable.
 5         25.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
 6   alleges, on information and belief, that there are other violations and barriers in the
 7   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
 8   notice regarding the scope of this lawsuit, once he conducts a site inspection.
 9   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
10   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
11   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
12   have all barriers that relate to his disability removed regardless of whether he
13   personally encountered them).
14         26.    Without injunctive relief, Plaintiff will continue to be unable to fully
15   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
16                               FIRST CAUSE OF ACTION
17   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
18     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
19                                        (P.L. 110-325)
20         27.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
21   above and each and every other paragraph in this Complaint necessary or helpful to
22   state this cause of action as though fully set forth herein.
23         28.    Under the ADA, it is an act of discrimination to fail to ensure that the
24   privileges, advantages, accommodations, facilities, goods, and services of any place
25   of public accommodation are offered on a full and equal basis by anyone who owns,
26   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
27   Discrimination is defined, inter alia, as follows:
28                a.     A failure to make reasonable modifications in policies, practices,
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                                            COMPLAINT
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 1                       or procedures, when such modifications are necessary to afford
 2                       goods, services, facilities, privileges, advantages, or
 3                       accommodations to individuals with disabilities, unless the
 4                       accommodation would work a fundamental alteration of those
 5                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 6                b.     A failure to remove architectural barriers where such removal is
 7                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 8                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 9                       Appendix "D".
10                c.     A failure to make alterations in such a manner that, to the
11                       maximum extent feasible, the altered portions of the facility are
12                       readily accessible to and usable by individuals with disabilities,
13                       including individuals who use wheelchairs, or to ensure that, to
14                       the maximum extent feasible, the path of travel to the altered area
15                       and the bathrooms, telephones, and drinking fountains serving
16                       the area, are readily accessible to and usable by individuals with
17                       disabilities. 42 U.S.C. § 12183(a)(2).
18         29.    Any business that provides parking spaces must provide accessible
19   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
20   shall be at the same level as the parking spaces they serve. Changes in level are not
21   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
22   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
23   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
24   designated disabled parking space is a violation of the law and excess slope angle in
25   the access pathway is a violation of the law.
26         30.    A public accommodation must maintain in operable working condition
27   those features of its facilities and equipment that are required to be readily accessible
28   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
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                                           COMPLAINT
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 1           31.     Here, the failure to ensure that accessible facilities were available and
 2   ready to be used by Plaintiff is a violation of law.
 3           32.     Given its location and options, Plaintiff will continue to desire to
 4   patronize the Business but he has been and will continue to be discriminated against
 5   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
 6   the barriers.
 7                                SECOND CAUSE OF ACTION
 8          VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 9           33.     Plaintiff re-alleges and incorporates by reference all paragraphs alleged
10   above and each and every other paragraph in this Complaint necessary or helpful to
11   state this cause of action as though fully set forth herein.
12           34.     California Civil Code § 51 et seq. guarantees equal access for people
13   with disabilities to the accommodations, advantages, facilities, privileges, and
14   services of all business establishments of any kind whatsoever. Defendants are
15   systematically violating the UCRA, Civil Code § 51 et seq.
16           35.     Because Defendants violate Plaintiff’s rights under the ADA,
17   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
18   52(a).) These violations are ongoing.
19           36.     Plaintiff is informed and believes and thereon alleges that Defendants’
20   actions constitute discrimination against Plaintiff on the basis of a disability, in
21   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
22   previously put on actual or constructive notice that the Business is inaccessible to
23   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
24   inaccessible form, and Defendants have failed to take actions to correct these
25   barriers.
26   ////
27   ////
28   ////
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                                              COMPLAINT
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 1                                         PRAYER
 2   WHEREFORE, Plaintiff prays that this court award damages provide relief as
 3   follows:
 4         1.     A preliminary and permanent injunction enjoining Defendants from
 5   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
 6   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
 7   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
 8   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
 9   under the Disabled Persons Act (Cal. C.C. §54) at all.
10         2.     An award of actual damages and statutory damages of not less than
11   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
12         3.     An additional award of $4,000.00 as deterrence damages for each
13   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
14   LEXIS 150740 (USDC Cal, E.D. 2016); and,
15         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
16   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
17

18                               DEMAND FOR JURY TRIAL
19         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
20   raised in this Complaint.
21

22   Dated: August 27, 2020                  MANNING LAW, APC
23

24                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
25                                       Attorney for Plaintiff
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                                           COMPLAINT
